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 1   ALEJANDRO ALVAREZ
     Defendant Pro-Se
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 6                            IN THE UNITED STATES DISTRICT COURT

 7                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8                                     SAN FRANCISCO DIVISION

 9   UNITED STATES OF AMERICA,             )               CR No. 20-0086-WHO
                                           )
10                                         )               NOTICE OF APPEAL
                       Plaintiff,          )
11   vs.                                   )
                                           )
12   ALEJANDRO ALVAREZ,                    )
                                           )
13                                         )
                       Defendant.          )
14   _____________________________________ )

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16          PLEASE TAKE NOTICE that ALEJANDRO ALVAREZ, the defendant in the above-

17   named case, hereby appeals to the United States Court of Appeals for the Ninth Circuit from the

18   judgment and conviction, entered in this action on September 29, 2022, in the United States

19   District Court for the Northern District of California.

20   October 7, 2022.                      Respectfully submitted,

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22                                         /s/ Alejandro Alvarez
                                           ALEJANDRO ALVAREZ
23                                         Defendant Pro-Se
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     NOTICE OF APPEAL                                  1
